 1   MICHAEL L. SWAIN (133260)
     ROSS I. LANDAU (259260)
 2   SWAIN & DIPOLITO LLP
     555 East Ocean Boulevard, Suite 600
 3   Long Beach, California 90802
     Telephone: (562) 983-7833
 4   Facsimile: (562) 983-7835
     E-mail: mswain@swaindipolito.com
 5           rlandau@swaindipolito.com
 6   Attorneys for Defendants,
     OCEAN NETWORK EXPRESS (NORTH AMERICA) INC. and
 7   OCEAN NETWORK EXPRESS PTE., LTD.

 8                        UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA

10

11   FRESKA PRODUCE INTERNATIONAL, LLC,             Case No. 2:20-cv-01171-
     a California limited liability                 CBM-E x
12   company,
                                                    Honorable Consuelo B.
13                    Plaintiff,                    Marshall
                                                    Ctrm: 8B
14         vs.

15   OCEAN NETWORK EXPRESS (NORTH                   ORDER RE: STIPULATION
     AMERICA) INC., a Virginia                      FOR CONDITIONAL
16   corporation; OCEAN NETWORK EXPRESS             DISMISSAL [JS-6
     PTE. LED., a business entity of
17   unknown form; GEODIS USA, INC., a
     Pennsylvania corporation; M/V
18   ALIOTH, her engines, tackle,
     boilers, etc., a Liberia flagged
19   vessel; M/V MOL MANEUVER, her
     engines, tackle, boilers, etc., a
20   Marshall Islands flagged vessel;
     M/V MOL MAGNIFICENCE, her engines,
21   tackle, boilers, etc., a Marshall
     Islands flagged vessel; M/V MIZAR,
22   her engines, tackle, boilers, etc.,)
     a Liberia flagged vessel; AFS      )
23   TRUCKING, INC., a California       )
     corporation; and DOES 1 through 10,)
24   inclusive,                         )
                                        )
25

26
     ___________________
                    Defendants.         )
                                        )

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28   ///

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     [Proposed] Order re: Stipulation for Conditional Dismissal
